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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

     DAMONIE EARL, LINDA RUGG, ALESA                §
     BECK, TIMOTHY BLAKEY, JR.,                     §
     STEPHANIE BLAKEY, MARISA                       §
     THOMPSON, MUHAMMAD MUDDASIR                    §
     KHAN, JOHN ROGERS, VALERIE                     §
     MORTZ-ROGERS, JAMES LAMORTE,                   §
     BRETT NOBLE, RUBEN CASTRO, FRITZ               §
     RINGLING, LITAUN LEWIS, and LANCE              §
     HOGUE, JR., each individually and on           §
     behalf of all others similarly situated,       §          Civil Action No. 4:19-cv-00507
                                                    §
            Plaintiffs,                             §
                                                    §
     v.                                             §
                                                    §
     THE BOEING COMPANY and                         §
     SOUTHWEST AIRLINES CO.,                        §
                                                    §
            Defendants.                             §
                                                    §

                           ORDER GRANTING UNOPPOSED MOTION
                              FOR WITHDRAWAL OF COUNSEL

           Before the Court is Defendant The Boeing Company’s Unopposed Motion for Withdrawal

    of Counsel (Dkt. #498), seeking the withdrawal of Jeremy Byrum.              Having considered

    the Motion, the Court is of the opinion that the Motion should be granted.
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           It is therefore ORDERED that Defendants’ Unopposed Motion for Withdrawal is

    GRANTED, and Jeremy Byrum is withdrawn as counsel in this matter.

           IT IS SO ORDERED.
            SIGNED this 11th day of April, 2022.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
